             Case 1:20-bk-10213-MT        Doc 29 Filed 06/05/20 Entered 06/05/20 11:01:19                    Desc
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        1    PETER C. ANDERSON
             UNITED STATES TRUSTEE
        2    Kenneth M. Misken
             Assistant United States Trustee                                    FILED & ENTERED
        3    Katherine C. Bunker, No. 240593
             Trial Attorney for United States Trustee
        4    UNITED STATES TRUSTEE                                                       JUN 05 2020
             915 Wilshire Blvd., Ste. 1850
        5
             Los Angeles, CA 90017                                                  CLERK U.S. BANKRUPTCY COURT
                                                                                    Central District of California
        6    Telephone (213) 894-3326; Facsimile (213) 894-0276                     BY egonzale DEPUTY CLERK
             Email: kate.bunker@usdoj.gov
        7

        8                            UNITED STATES BANKRUPTCY COURT

        9                             CENTRAL DISTRICT OF CALIFORNIA

        10                              SAN FERNANDO VALLEY DIVISION

        11   In re                                         )   Case No. 1:20-bk-10213-MT
                                                           )
        12                                                 )   Chapter 7
             AFSANEH DOOST,                                )
        13                                                 )   ORDER DISMISSING CASE PURSUANT
                                                           )   TO 11 U.S.C. § 707(b)(3)(A) WITH A ONE-
        14                                                 )   YEAR BAR TO REFILING PURSUANT
                                                           )   TO 11 U.S.C. §§ 105(a) AND 349(a)
        15                                                 )
Date:                              Debtor.                 )   Date: June 2, 2020
Time:   16                                                 )   Time: 10:00 a.m.
                                                           )   Crtm: 302
        17

        18           A hearing was held on the United States Trustee’s Motion to Dismiss Case Pursuant to 11
        19   U.S.C. § 707(b)(3)(A) With A One-Year Bar to Refiling Pursuant to 11 U.S.C. §§ 105(a) and
        20   349(a) [Docket No. 21], with appearances as noted on the record. Having considered the motion
        21   and the record, and good cause appearing therefore:
        22           IT IS HEREBY ORDERED that the case is dismissed pursuant to 11 U.S.C.
        23   § 707(b)(3)(A).
        24   //
        25   //
        26   //
        27   //
        28   //
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            IT IS FURTHER ORDERED that Afsaneh Doost is barred from being a debtor in any
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     chapter for a period of one year pursuant to 11 U.S.C. §§ 105(a) and 349(a), without first filing
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     an application with notice to the United States Trustee and obtaining permission of the Court.
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          Date: June 5, 2020
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